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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

   UNITED STATES OF AMERICA                  §
                                             §
   v.                                        §          No. 4:16CR176
                                             §          Judge Mazzant
   JAMES MORRIS BALAGIA (3)                  §
   a.k.a. “DWI Dude”                         §

              MOTION TO CONTINUE PRE-TRIAL CONFERENCE and
                     REQUEST FOR A SPECIAL SETTING

         The United States files this Motion to Continue this case from the Court’s April

  12, 2019 Pre-trial Docket. The United States also requests a special setting for the trial.

                              I. Select Procedural Background

         On January 9, 2019, a Federal Grand Jury for the Eastern District of Texas

  returned a five count Fourth Superseding Indictment against Jaime Balagia (Balagia).

         The case was previously designated as a complex case (Doc. 69).

                                    II. Grounds for Motion

         The lead and only supporting agent in United States v. Balagia (FBI SA Jason

  Rennie) is also the lead agent in United States v. Thurman Bryant III and Arthur Franz

  Wammel. United States v. Thurman Bryant III and Arthur Franz Wammel is scheduled

  for a two week jury trial before Judge Mazzant the weeks of March 25 and April 1, 2019.

  SA Rennie is critical to the preparation and trial of both cases. The United States requests

  that the trial in United States v. Balagia be specially set for April 22, 2019 or thereafter

  with the exception of the week of June 10, 2019.
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          This Motion to Continue is not sought for purpose of delay but rather that justice

  be done. The United States requests that this Motion for Continuance be granted and this

  case be re-set after April 22, 2019, with the exception of the week of June 10, 2019.


                                                        Respectfully submitted,

                                                        JOSEPH D. BROWN
                                                        United States Attorney

                                                        ___/s/__________________________
                                                        HEATHER RATTAN
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                                                        Heather.Rattan@usdoj.gov

                                   CERTIFICATE OF CONFERENCE

  I hereby certify that I have contacted defense counsel. Defense counsel Daphne
  Silverman responded, “I am not opposed to a continuance. I seek more time than
  you request under the circumstances of losing co-counsel and his staff. I seek at
  least a 6 month continuance. Based on other trial settings and securing sufficient
  time to address the counsel issue, I request a trial setting in October or later. You
  may state these issues in your motion and you may note that the defendant waives
  speedy trial for the period of time until October or thereafter to a trial date
  convenient to the Court and all parties.”


                                                    /s/
                                                  Heather Rattan




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                                   CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing was sent via

  electronic filing to defense counsel on this the 14th day of March, 2019.

                                                    /s/
                                                  Heather Rattan




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